          Case 1:17-cr-00063-KBJ Document 37 Filed 10/23/18 Page 1 of 9




                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA
____________________________________
                                     )
                                     )
UNITED STATES OF AMERICA             ) Crim. No. 17-63-2 (KBJ)
                                     )
            v.                       )
                                     )
BRIANA BARNES                        )
                                     )
____________________________________)

          DEFENDANT BRIANA BARNES’S SENTENCING MEMORANDUM

       Undersigned counsel on behalf of Briana Barnes submits her memorandum in support of

a sentence of time served and the imposition of Supervised Release.

       Background

       Ms. Barnes is before the Court pending sentencing after she entered a guilty plea on

August 20, 2018. Ms. Barnes pled guilty to one count of Unlawful Possession with Intent to

Distribute a Controlled Substance in violation of 48 D.C. Code § 904(a)(1). The offense is a

lesser included of Count Three of the Indictment which charged the same substantive offense but

while armed. Ms. Barnes committed the charged offense on December 31, 2016, with co-

defendant Kelvin Subgidio.

        Pursuant to the conviction Ms. Barnes faces a maximum prison term of five years and

term of supervised release of less than three years or at least three years. The term of supervision

is predicated on whether the Court imposes a prison sentence of more or less than one year. See

24 DCC § 403.01(b)(2)(B) & 24 DCC § 403.01(b)(3)(B). Title 4 DCC § 516 authorizes a fine of

at least $100 and a maximum of $5,000. Undersigned counsel recommends that the Court

impose a sentence of time served and impose a period of supervised release of two years.



                                                 1
          Case 1:17-cr-00063-KBJ Document 37 Filed 10/23/18 Page 2 of 9




            ARGUMENT IN SUPPORT FOR A SENTENCE OF PROBATION

       Ms. Barnes is before the Court facing her first criminal conviction. In fact, prior to the

instant offense Ms. Barnes had never been arrested in her life. The instant offense is very serious

and it’s clear that Ms. Barnes has to make a dramatic change in how she conducts her life and the

choices she makes. Because this will be her first sentencing hearing, it does represent an errant

departure from the principles and values that were instilled by her mother, aunt, and

grandmother. Ms. Barnes has been blessed with having very strong, responsible and loving

female role models. It’s incumbent on her to follow the guidance that her mother, aunt and

grandmother at various times in her life imparted on her.

       Ms. Barnes is disappointed that after leading happy childhood she already has a federal

criminal case attached to her name. Notwithstanding the terrible ordeal of her case, Ms. Barnes

has the ability and willingness to change the direction of her life. Ms. Barnes knows that her

responsibility is now greater because she is a mother. She understands that being irresponsible is

not an option for her. Her infant daughter needs her and Ms. Barnes cannot impose an

extraordinary obligation on her parents to assume full parental responsibilities as she has done

twice already.

       An important step in redirecting her life was her resolve to plea guilty to her wrongful

conduct. Her decision was based on the simple fact that she was in fact helping Mr. Subgidio

distribute K-2 to his customers. Because she used the drug habitually, Ms. Barnes made the

terrible mistake of going with him on his distribution rounds. Everything about the distribution

scheme, the nuts and bolts, who had the K-2, who owned the car, who owned the firearm, who

had the prior criminal history, and who acted recklessly in speeding away from law enforcement,

points factually to Kelvin Subgidio.


                                                 2
             Case 1:17-cr-00063-KBJ Document 37 Filed 10/23/18 Page 3 of 9




        Now close to two years removed from that terrible day, Ms. Barnes wants to prove to the

Court and the government that she has learned a very painful lesson. As someone who had seen

friends in trouble with the law, she never envisioned that she would find herself in a similar

situation. In fact, it never crossed her mind that she would be labeled a convicted felon and that

her record of citizenship would be stained at a very young age. Ms. Barnes is asking the Court

for leniency so that she may return to the community and care and be a present mother to her

infant daughter. As a first time criminal offender Ms. Barnes wants the opportunity to

demonstrate a commitment to responsible and law-abiding behavior. On account of the totality

and circumstance of her life and pursuant to the applicable sentencing statutes, Ms. Barnes

respectfully requests that the Court sentence her to a period of a term of time served and imposed

two years of Supervised Release.

   I.        PURSUANT DISTRICT OF COLUMBIA CODE § 24-403.1 AND 18 U.S.C. §
             3553(a), MS. BARNE’S RESPECTFULLY REQUESTS A SENTENCE OF TIME
             SERVED AND A TERM OF SUPERVISED RELEASE OF TWO YEARS

        A.      The Sentencing Guidelines Support a Sentence of Time Served

        Ms. Barnes reviewed and agrees with the sentencing determinations in the in the

Presentence Investigation Report filed by Probation Officer Sherry Brandon. Ms. Brandon found

the applicable Sentencing Guidelines range to be 6 to 18 months. The sentencing calculations are

based on the Voluntary Guidelines followed in the Superior Court for the District of Columbia

since Ms. Barnes pled to a D.C. Code offense. Possession with Intent to Distribute a Controlled

Substance is a Group 3 offense. Ms. Barnes has no prior convictions which results in a Criminal

History Score A (0 to ½). In the Sentencing Guidelines’ Master Grid, a Group 3 offense and a

criminal history category A yield a range of 6 to 18 months. PSR 63. That range permits a

sentence of “short split”


                                                 3
            Case 1:17-cr-00063-KBJ Document 37 Filed 10/23/18 Page 4 of 9




       B.         The Statutory Factors of D.C. Code § 24-403.1 Support a Sentence of Time
                  Served and the Imposition of Supervised Release

       Pursuant to the District of Columbia Code, D.C. Code § 24-403.1 the Court shall impose

a sentence that

       (1) Reflects the seriousness of the offense and the criminal history of the offender;

        (2) Provides for just punishment and Affords deterrence to potential criminal conduct by
the defendant and others; and

       (3) Provides the offender with needed educational or vocational training, medical care
and other correctional treatment.

       1.         The Nature, Circumstances and Seriousness of the Offense

       Ms. Barnes’s criminal conduct is concisely described in the statement of facts and in the

Presentence Investigation Report. PSR ¶ 16-20. Ms. Barnes’s nonviolent criminal conduct took

place when she was nineteen years old and was actively looking for gainful employment and

becoming a responsible adult. Unexpectedly and still very mystifying, Ms. Barnes began to

associate with Mr. Subgidio, a seasoned and habitual criminal. What she intended to be a

morning outing of helping Mr. Subgidio to sell K-2, turned into a very serious crime in which

she was in car with a substantial amount of K-2, a loaded firearm, and it was topped off with Mr.

Subgidio’s reckless behavior in driving at a high speed from law enforcement.

       To her credit and consistent with her history, and limited involvement with Mr.

Subgidio’s criminal scheme, Ms. Barnes stayed on the scene. After Mr. Subgidio crashed the

car, he ran out of the car and had to be forcefully stopped by law enforcement. The gun that was

in the car, was his gun, which he tried to throw out while he was driving recklessly. However,

Ms. Barnes does not excuse her conduct, and she has never denied her criminal responsibility nor

minimized her conduct. In fact when she was initially questioned by investigating agents, Ms.



                                                4
          Case 1:17-cr-00063-KBJ Document 37 Filed 10/23/18 Page 5 of 9




Barnes did not equivocate in admitting her criminal behavior. Later, when a plea offer was

extended, Ms. Barnes did not waste any time in unconditionally accepting the agreement.

       Ms. Barnes recognizes that the Court must impose a sentence that reflects the seriousness

of the offense, promotes respect for the law, and provides just punishment. While the sentence

must provide deterrence and protect the public, it must also provide Ms. Barnes with educational

and vocational training and medical care. In balancing all of the purposes of sentencing, the Court

has to strike the appropriate balance between the punitive sanction, protection for the community

and the long term goal of rehabilitation. Ms. Barnes has been adequately punished through her five

months of incarceration in the Central Treatment Facility. Every aspect of her criminal case, from

her arrest, indictment, guilty plea, and pending sentencing have individually and collectively

emphasized the seriousness of her crime. As a result the imposition of a sentence of time served

does not in any way deviate from that sentencing goal.

       1a.     History and Characteristics of Ms. Barnes

       Ms. Barnes was raised and nurtured in a loving family environment. From the strong and

loving women in her family she learned the values of education and personal responsibility. As

she grew up, Ms. Barnes practiced those values and succeeded while some of her peers faltered.

Although, she hasn’t been consistently employed, Ms. Barnes has been employed at various

times since she stopped going to school. The different jobs she’s held suggest a willingness to

undertake any task to support herself.

       Ms. Barnes is a mother and knows that it’s her responsibility to find work in order to

support her infant daughter. She has personally witness the failings of the men in her life, and

how her mother, aunt and grandmother had to assume the burdens for supporting their families.

Regrettably, Ms. Barnes has seen aspects of that already. When she was arrested for failing to


                                                 5
          Case 1:17-cr-00063-KBJ Document 37 Filed 10/23/18 Page 6 of 9




follow and respect the Court’s release order, it was her father’s wife who put her own life and

care for Ms. Barnes’s infant daughter. The child’s father was absentee. The father has remained

mostly, if not fully absentee.

       The reality of who is going to care for her daughter has motivated Ms. Barnes to fully

appreciate her freedom. Ms. Barnes never envisioned wearing an orange jumper and spending her

daily life with women charged with all sorts of crimes and some who are severely mentally

troubled. Having never set a foot in a cell or a prison, Mr. Barnes found herself bewildered and

scared. As her sentencing date approaches her trepidation has increased. She knows that she could

be sentenced to a significant prison term that could extend her separation from her daughter.

Instead of relishing her mother, Ms. Barnes has come to terms with impact of her reckless decision

to help Mr. Subgidio sell drugs.

       Ms. Barnes wants to be a loving mother and she has the desire and the commitment to be

one. However, that can only happen in person. She acknowledges that on two occasions she

surprisingly and selfishly veered off that goal. Her failure to abide by the Court’s order was a

personal setback, but more importantly it was a terrible setback for her infant daughter who needed

her mother. Ms. Barnes is committed to making a dramatic change in her life. Ms. Barnes wants

to provide the same care and love that she received from her mother, grandmother and aunt.

       2. The Sentence Should Provide just Punishment and Afford deterrence

       The recommend sentence should adequately protect the public and achieve adequate

deterrence. As confirmed by the PSR, Ms. Barnes is a first time offender who throughout her

young life, with the exception of the instant offense, has been law-abiding. Moreover, she has

personally experienced the consequences for violating court orders. Five months in the Central




                                                6
            Case 1:17-cr-00063-KBJ Document 37 Filed 10/23/18 Page 7 of 9




Treatment Facility and the corresponding deprivations have made a lasting impression on Ms.

Barnes.

       While on supervise release Ms. Barnes will have to commit herself to changing her life

for herself and more importantly for her daughter. Supervised release is a strict regimen which

includes reporting to a probation officer, submitting monthly reports, and testing randomly for

illegal drugs. Ms. Barnes will also be required to report any change in her residence,

employment and travel outside of the metropolitan area. These obligations and responsibilities

are substantial. However, they are in place for her own good and rehabilitation. If Ms. Barnes

wants to change her life she has to embrace what Supervise Release has to offer. Ms. Barnes has

acknowledge her failings and her need for help. These are fundamental steps that will help her,

and by extension protect the public from future criminal conduct.

       3.      The Sentence Should Provide Needed Educational, Vocational Training,
               Medical Care and Other Correctional Treatment

       A sentence that immediately transitions Ms. Barnes to community supervision would be

the most effective way of supporting her rehabilitation. The Probation office can provide Ms.

Barnes with referrals for job training and education programs that will improve her marketability

and provide incentives for her to aspire professionally. Ms. Barnes has not exhibited any violent

or deceitful conduct that would cause a potential employer to shy away from hiring her.

       Since this is Ms. Barnes’s first felony conviction, she is amenable to rehabilitation. However,

additional incarceration will not measurably further any of goals of sentencing and particularly her

rehabilitation. Ms. Barnes has never exhibited any systemic addiction or pathology requiring

custodial based rehabilitation. A felony conviction on its own will serve as a bitter reminder to Ms.

Barnes of how she has blemished her life. While on supervision, the Court will maintain jurisdiction

over Ms. Barnes and the authority to incarcerate her. The threat of incarceration in the CTF or in the


                                                   7
          Case 1:17-cr-00063-KBJ Document 37 Filed 10/23/18 Page 8 of 9




BOP will be a clear deterrent. Incarceration represents a frightening consequence that Ms. Barnes

will do the utmost to avoid.

       18 U.S.C. § 3553(a)(2)(D) directs the Court to fashion a sentence that provides Ms.

Barnes with necessary "medical care" or other "treatment in the most effective manner." The

Sentencing Reform Act promoted the identical goal in a non-custodial setting by"reject[ing]

Imprisonment as a means of promoting rehabilitation." Mistretta v. United States, 488 U.S. 361,

367 (1989). Ms. Barnes’s remorse and her lack of criminal history answer the question why the

requested sentence would adequately satisfy the sentencing purposes set forth in 18 U.S.C. §

3553(2)(a) and D.C. Code § 24-403.1

       Finally, the recommended sentencing amounts to “just punishment” when the Court

considers 18 U.S.C.§3582(a). In pertinent part 18 U.S.C. § 3582 (a) states


        “The Court, in determining whether to impose a term of imprisonment, and if a term of
imprisonment is to be imposed, in determining the length of the term, shall consider the factors
set forth in section 3553(a) to the extent that they are applicable, recognizing that imprisonment
is not an appropriate means of promoting correction and rehabilitation” (emphasis added)
       CONCLUSION

       Ms. Barnes is a young woman who made a series of terrible decisions when she was still

a teenager. The terrible choices she made on December 31, 2016, have cost her dearly. Ms.

Barnes’s felony conviction will have consequences for the remainder of her life. However, in the

context of Ms. Barnes’s character and background it is safe to assume that it’s unlikely that she

will re-engage in any criminal conduct. Ms. Barnes wants the opportunity to demonstrate that

she can lead an exemplary life that is characterized by honesty, hard work and responsibility to

her daughter and community. For these reasons undersigned counsel requests that the Court

sentence Ms. Barnes to time served and impose two year term of supervised release.


                                                 8
Case 1:17-cr-00063-KBJ Document 37 Filed 10/23/18 Page 9 of 9




                                 Respectfully submitted,

                                 A.J. Kramer
                                 Federal Public Defender

                                 ____________/s/____________
                                 Carlos J. Vanegas
                                 Assistant Federal Public Defender
                                 625 Indiana Ave., N.W., Suite 550
                                 Washington, D.C. 20004
                                 (202) 208-7500




                             9
